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  8
                         UNITED STATES DISTRICT COURT
  9                     CENTRAL DISTRICT OF CALIFORNIA
 10
      SALLYANN SWIHART                          CIVIL ACTION NO. 8:15-CV-730
 11
                            Plaintiff,
 12                                             COMPLAINT FOR VIOLATIONS OF
                              v.                FAIR CREDIT REPORTING ACT
 13
      EXPERIAN INFORMATION                      DEMAND FOR JURY TRIAL
 14   SOLUTIONS, INC.
 15
                            Defendant.
 16
 17
 18         1.    This is an action for damages brought by an individual consumer,
 19   Sallyann Swihart against Experian Information Solutions, Inc. for violations of the
 20   Fair Credit Reporting Act (“FCRA”), 15 U.S.C. §§ 1681, et seq., as amended.
 21                           JURISDICTION AND VENUE
 22         2.    Jurisdiction of this Court arises under 15 U.S.C. § 1681p and 28 U.S.C.
 23   § 1331.
 24         3.    Venue lies in this district pursuant to 28 U.S.C. § 1391(b).
 25                                       PARTIES
 26         4.    Plaintiff Sallyann Swihart is an adult individual residing in Peru, IN.
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                           COMPLAINT AND DEMAND FOR JURY TRIAL
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  1         5.       Defendant Experian Information Solutions, Inc. (“Experian”) is a
  2   business entity and consumer reporting agency that regularly conducts business in
  3   the Central District of California, and which has its headquarters and a principal
  4   place of business located at 475 Anton Boulevard, Costa Mesa, CA.
  5                               FACTUAL ALLEGATIONS
  6         6.       Defendant has been reporting derogatory and inaccurate statements
  7   and information relating to Plaintiff and Plaintiff’s credit history to third parties
  8   (“inaccurate information”) from at least January 2015 through present. The
  9   inaccurate information includes an unpaid judgment as well as personal identifying
 10   information.
 11         7.       The inaccurate information negatively reflects upon the Plaintiff,
 12   Plaintiff’s credit repayment history, Plaintiff’s financial responsibility as a debtor
 13   and Plaintiff’s creditworthiness. The inaccurate information consists of a public
 14   record that does not belong to the Plaintiff, and that actually belong to another
 15   consumer. Due to Defendant’s faulty procedures, Defendant mixed the credit file
 16   of Plaintiff and that of another consumer with respect to the inaccurate information
 17   and other personal identifying information.
 18         8.       Defendant has been reporting the inaccurate information through the
 19   issuance of false and inaccurate credit information and consumer credit reports that
 20   they have disseminated to various persons and credit grantors, both known and
 21   unknown. Defendant has repeatedly published and disseminated consumer reports
 22   to such third parties from at least January 2015 through the present.
 23         9.       Plaintiff’s credit report and file has been obtained from Defendant and
 24   have been reviewed by prospective and existing credit grantors and extenders of
 25   credit, and the inaccurate information has been a substantial factor in precluding
 26   Plaintiff from receiving different credit offers and opportunities, known and
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                             COMPLAINT AND DEMAND FOR JURY TRIAL
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  1   unknown. Plaintiff’s credit reports have been obtained from Defendant by such
  2   third parties from at least January 2015 through the present.
  3         10.      As of result of Defendant’s conduct, Plaintiff has suffered actual
  4   damages in the form of lost credit opportunities, harm to credit reputation and credit
  5   score, and emotional distress including anxiety, frustration, embarrassment and
  6   humiliation.
  7         11.      At all times pertinent hereto, Defendant was acting by and through its
  8   agents, servants and/or employees who were acting within the course and scope of
  9   their agency or employment, and under the direct supervision and control of the
 10   Defendant herein.
 11         12.      At all times pertinent hereto, the conduct of the Defendant, as well as
 12   that of its agents, servants and/or employees, was intentional, willful, reckless, and
 13   in grossly negligent disregard for federal laws and the rights of the Plaintiff herein.
 14                     COUNT ONE – VIOLATIONS OF THE FCRA
 15                                   (Plaintiff v. Experian)
 16         13.      Plaintiff incorporates the foregoing paragraphs as though the same
 17   were set forth at length herein.
 18         14.      At all times pertinent hereto, Experian was a “person” and a “consumer
 19   reporting agency” as those terms are defined by 15 U.S.C. § 1681a(b) and (f).
 20         15.      At all times pertinent hereto, Plaintiff was a “consumer” as that term
 21   is defined by 15 U.S.C. § 1681a(c).
 22         16.      At all times pertinent hereto, the above-mentioned credit reports were
 23   “consumer reports” as that term is defined by 15 U.S.C. § 1681a(d).
 24         17.      Pursuant to 15 U.S.C. § 1681n and 15 U.S.C. § 1681o, Experian is
 25   liable to the Plaintiff for willfully and negligently failing to comply with the
 26   requirements imposed on a consumer reporting agency of information pursuant to
 27   15 U.S.C. § 1681e(b).
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  1         18.    The conduct of Experian was a direct and proximate cause, as well as
  2   a substantial factor, in bringing about the serious injuries, actual damages and harm
  3   to the Plaintiff that are outlined more fully above and, as a result, Experian is liable
  4   to the Plaintiff for the full amount of statutory, actual and punitive damages, along
  5   with the attorney’s fees and the costs of litigation, as well as such further relief, as
  6   may be permitted by law.
  7                                   JURY TRIAL DEMAND
  8         19.    Plaintiff demands trial by jury on all issues so triable.
  9                                   PRAYER FOR RELIEF
 10         WHEREFORE, Plaintiffs respectfully pray that relief be granted as follows:
 11                       (a)    Actual damages;
 12                       (b)    Statutory damages;
 13                       (c)    Punitive damages;
 14                       (d)    Costs and reasonable attorney’s fees; and
 15                       (e)    Such other and further relief as may be just and proper.
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 17                                                   Respectfully Submitted,
 18                                                   TATAR LAW FIRM, APC
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 20                                            BY: _________________________
 21                                                   Stephanie Tatar
 22                                                   Attorney for Plaintiff
 23   DATE: May 7, 2015
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                            COMPLAINT AND DEMAND FOR JURY TRIAL
